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                   Exhibit 1-K
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment


       U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                 Evidence Packet P.0294
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